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                                   4                         IN THE UNITED STATES DISTRICT COURT

                                   5                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RESOURCE RENEWAL INSTITUTE, et               Case No. 22-cv-00145-MMC
                                         al.,
                                   8                  Plaintiffs,                     ORDER GRANTING POINT REYES
                                   9                                                  SEASHORE RANCHERS
                                                v.                                    ASSOCIATION'S MOTION TO
                                  10                                                  INTERVENE; VACATING HEARING
                                         NATIONAL PARK SERVICE,
                                  11                  Defendant.
                                  12
Northern District of California
 United States District Court




                                  13         Before the Court is Point Reyes Seashore Ranchers Association’s (“PRSRA”)

                                  14   “Motion to Intervene,” filed April 20, 2022. Defendant National Park Service has filed a

                                  15   Response stating it takes no position in regard to the motion. Plaintiffs Resource

                                  16   Renewal Institute, Center for Biological Diversity, and Western Watersheds Project have

                                  17   filed a Response stating they do not oppose the motion and reserving the right to seek

                                  18   reasonable conditions on PRSRA’s participation.

                                  19         Having read and considered the parties’ respective submissions, the Court finds

                                  20   the matter appropriate for decision thereon, VACATES the hearing scheduled for May 27,

                                  21   2022, and hereby GRANTS the motion.

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                                  23         IT IS SO ORDERED.

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                                  25   Dated: May 10, 2022
                                                                                              MAXINE M. CHESNEY
                                  26                                                          United States District Judge
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